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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

CHRISTOPHER AUSTIN,                       )
                                          )
              Plaintiff                   )
                                          )       2:18-cv-00247-GZS
v.                                        )
                                          )
JUDGE MARILYN STAVROS,                    )
et al.,                                   )
                                          )
              Defendants                  )

        RECOMMENDED DECISION AFTER SCREENING COMPLAINT
                 PURSUANT TO 28 U.S.C. §§ 1915(e)

       Plaintiff filed a complaint in which he seeks relief from a judgment entered in the

state court. (Complaint at 4, ECF No. 1.) Defendants consist of two state court judges and

an enforcement officer with a state agency.

       Plaintiff filed an application to proceed in forma pauperis (ECF No. 3), which the

Court granted. (ECF No. 5.) In accordance with the in forma pauperis statute, a preliminary

review of Plaintiff’s complaint is appropriate. 28 U.S.C. § 1915(e)(2).

       Following a review of Plaintiff’s complaint pursuant to 28 U.S.C. § 1915(e)(2), I

recommend the Court dismiss the matter.

                                        Discussion

       The federal in forma pauperis statute, 28 U.S.C. § 1915, is designed to ensure

meaningful access to the federal courts for those persons unable to pay the costs of bringing

an action. When a party is proceeding in forma pauperis, however, “the court shall dismiss

the case at any time if the court determines,” that the action is “frivolous or malicious” or
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“fails to state a claim on which relief may be granted” or “seeks monetary relief against a

defendant who is immune from such relief.” 28 U.S.C. § 1915(e)(2)(B). “Dismissals

[under § 1915] are often made sua sponte prior to the issuance of process, so as to spare

prospective defendants the inconvenience and expense of answering such complaints.”

Neitzke v. Williams, 490 U.S. 319, 324 (1989).

       When considering whether a complaint states a claim for which relief may be

granted, courts must assume the truth of all well-plead facts and give the plaintiff the

benefit of all reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640

F.3d 1, 12 (1st Cir. 2011). A complaint fails to state a claim upon which relief can be

granted if it does not plead “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

       Although a pro se plaintiff’s complaint is subject to “less stringent standards than

formal pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), this is

“not to say that pro se plaintiffs are not required to plead basic facts sufficient to state a

claim,” Ferranti v. Moran, 618 F.2d 888, 890 (1st Cir. 1980). To allege a civil action in

federal court, it is not enough for a plaintiff merely to allege that a defendant acted

unlawfully; a plaintiff must affirmatively allege facts that identify the manner by which the

defendant subjected the plaintiff to a harm for which the law affords a remedy. Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009).

       In this case, Plaintiff alleges that in a state court proceeding, Defendant Stavros

improperly entered a child support judgment against him, Defendant McLeod, an agent

with the Department of Health and Human Services Department, threatened to revoke his

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driver’s license, evidently as the result of the state court proceedings and the judgment, and

Defendant Gorman prevented him from obtaining a writ of habeas corpus in connection

with the judgment. (Complaint at 4.)

         “‘Federal courts are courts of limited jurisdiction,’ possessing ‘only that power

authorized by Constitution and statute.’” Gunn v. Minton, 568 U.S. 251, 256 (2013)

(quoting Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994)). “It

is to be presumed that a cause lies outside this limited jurisdiction, and the burden of

establishing the contrary rests upon the party asserting jurisdiction.” Kokkonen, 511 U.S.

at 377 (citation omitted). “A court is duty-bound to notice, and act upon, defects in its

subject matter jurisdiction sua sponte.” Spooner v. EEN, Inc., 644 F.3d 62, 67 (1st Cir.

2011).

         “The Rooker-Feldman doctrine prevents the lower federal courts from exercising

jurisdiction over cases brought by ‘state-court losers’ challenging ‘state-court judgments

rendered before the district court proceedings commenced.’” Lance v. Dennis, 546 U.S.

459, 460 (2006) (quoting Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280,

284 (2005)); Walczak v. Mass. State Retirement Bd., 141 F.3d 1150 (1st Cir. 1998)

(unpublished) (citing District of Columbia Court of Appeals v. Feldman, 460 U.S. 462, 476

(1983); Rooker v. Fidelity Trust Co., 263 U.S. 413, 415-16 (1923)). Here, through his

request for the Court to “dismiss [the] void judgment” entered in the state court (Complaint

at 4), Plaintiff clearly challenges the validity of decisions of the state court and the

consequences of the decisions. To grant Plaintiff the relief he seeks, the Court would have



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to vacate or invalidate a state court judgment. Plaintiff is precluded by the Rooker-Feldman

doctrine from pursuing such relief in this Court.

                                            Conclusion

       Based on the foregoing analysis, following a review pursuant to 28 U.S.C. §

1915(e)(2), I recommend the Court dismiss Plaintiff’s complaint.

                                          NOTICE

              A party may file objections to those specified portions of a magistrate
       judge’s report or proposed findings or recommended decisions entered
       pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
       court is sought, together with a supporting memorandum, within fourteen
       (14) days of being served with a copy thereof.

              Failure to file a timely objection shall constitute a waiver of the right
       to de novo review by the district court and to appeal the district court's order.

                                            /s/ John C. Nivison
                                            U.S. Magistrate Judge

       Dated this 25th day of June, 2018.




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